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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF KENTUCKY
                          OWENSBORO DIVISION


JOHN DOE,
on behalf of himself and others
so situated

    Plaintiff,                                 No. 4:24-CV-00045-GNS

           v.

JOHN BURLEW,
in his official capacity as Daviess
County Attorney, and on behalf of all
County Attorneys in their official
capacities

    Defendant.


    EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER

      Comes now the Plaintiff, John Doe, by and through undersigned counsel and

pursuant to Fed. R. Civ. Proc. 65(b) Moves this Honorable Court to issue a

Temporary Restraining Order prohibiting the enforcement of the challenged law,

SB 249, by any member of the proposed defendant class against any member of the

proposed plaintiff class for either a period of 14 days, or until Plaintiff is granted

relief on his pending motions for Class Certification and Preliminary injunction.

      SB 249 is slated to go into effect in less than one week from the date of this

filing. Counsel is cognizant that the briefing schedule on the pending motions will

be concluded three days before SB 249 is slated to go into effect, and that the Court

may issue rulings on that date. Plaintiff nonetheless respectfully requests the
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issuance of a TRO. Fed. R. Civ. Proc. 65 provides for a 14-day timeframe for a TRO,

and this would both provide the Court additional time to issue a ruling on the

pending motions, as well as provide Plaintiff with the opportunity to seek review of

a potential denial of his pending motions. Plaintiff previously provided written

notice of his intention to seek a TRO near the effective date of SB 249 to counsel for

Mr. Burlew on June 20, 2024, and again on the date of this filing.

      Because the standard for a TRO and preliminary injunction is the same,

Summit County Democratic Cent. & Executive Comm. v. Blackwell, 388 F.3d 547,

550 (6th Cir. 2004), Plaintiff’s arguments in support of his request are contained

within his briefing in support of his pending motions for a Preliminary Injunction

(DE# 12), Class Certification (DE# 13), his consolidated reply and response brief

(DE# 20, 21), and incorporated by reference. Plaintiff further requests that the TRO

cover members of the proposed classes, even though a ruling has not yet been made

on the pending motions. See Gooch v. Life Investors Ins. Co. of America, 672 F.3d

402, 433 (6th Cir. 2012).

      The issuance of a TRO is appropriate in this circumstance, as it balances the

rights of the respective parties. If Plaintiff’s motions are denied absent the existence

of a TRO, and the decision on those motions is ultimately reversed, Plaintiff and

proposed class members will have nonetheless suffered the “irreparable injury” of

loss of First Amendment freedoms, which is considered to be irreparable even when

it is “for minimal periods of time.” Connection Distrib. Co. v. Reno, 154 F.3d 281,

288 (6th Cir. 1998), citing Elrod v. Burns, 427 U.S. 347, 373 (1976). If Plaintiff’s


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motions are denied and that denial is affirmed, then neither Mr. Burlew nor the

public will be harmed by a short delay in the effective date of SB 249 which would

permit Plaintiff to seek review. While the government does have an interest in

enforcing constitutional laws, the constitutionality of SB 249 remains an open

question. The legislation itself contains no emergency provision requiring

effectiveness on signing by the Governor, undercutting the position that the

immediacy of its operation is necessary to protect the health and wellbeing of

Kentucky citizens. Furthermore the Commonwealth retains multiple sets of laws

which already criminalize the unprotected speech that the government represents

SB 249 is necessary to guard against. Simply stated, the issuance of a 14-day TRO

in this circumstance would appropriately balance Plaintiff’s ability to effectively

petition the courts while also respecting the governmental interest in the

enforcement of laws which do not infringe on the rights of its citizens.

      Wherefore, Plaintiff respectfully requests the issuance of a TRO temporarily

enjoining the enforcement of SB 249 on a class-wide basis. Plaintiff requests that

this TRO be in operation for either a period of 14 days, or until such a time as

Plaintiff’s pending motions are granted — whichever occurs first.




                                           Respectfully submitted,

                                           /s/ Guy Hamilton-Smith*
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                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was filed in the above-captioned matter via
the Court’s CM/ECF system, which will cause electronic notice of the same to be
served on all parties on this the 9th day of July, 2024.

                                          /s/ Guy Hamilton-Smith




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